Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 1 of 12

IN THE UNI'I`ED STATES DIS'I`RIC'I` COURT FOR THE I)ISTRICT OF MARYLANI}

ALENDA STEPHENS, Individually *
7190 Chapman Drive __
Carnp Lejeune, N.C. 28547 *
and *
JOEL CURTIS STEPHENS *
7190 Chapman Drive
Camp Lejeune, N.C. 28547 *
Plaz`ntijj% *
v. * CASE NO.:
JOSEPH A. HALPERN, M.D. *
2001 Medical Parkway
Annapo}is, MD 21401 *
and *
DONALD KLEIN, P.A. *
2001 Medical Parkway
Annapoiis, MD 21401 *
and *

DOCTOR'S EMERGENCY SERVICES, P.A. *
2001 Medical Parkway
Annapolis, MD 21401 *

Serve On: Resident Agent *"
James S. Jacobs, Esquire
One South St., Ste. 2100 *
Baitimore, MD 21202

and *
ERIC RITTER, M.D. *
2001 Medical Parkway

Annapolis, MD 21401 *

and "‘

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 2 of 12

ANNE ARUNDEL MEDICAL CENTER, INC. *
d/b/ a ANNE ARUNDEL MEDICAL CENTER

2001 Medical Par'kway *
Annapolis, MD 21401
*
Serve On: Resident Agent
The Colporation Trust 1nc "‘
351 West Camden Street
Baltjrnore, MD 21201 *
Defendanrs *
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COMPLAINT ANB ELECTION FOR JURY TRIAL

Plaintiffs, Alenda Stephens and Joe1 Stephens, by and through their attorneys, luna R.
Arfaa, Esquire, Jonathan A. Cusson, Esquire, and Julia Arfaa, P.A. d/b/a The Arfaa LaW Group,
hereby sues the Det`endants, Joseph A. Ha1pern, M.D., Donald Klein, P.A., Eric Ritter, M.D.,
Doctor's Ernergeney Services, P.A., and the Anne mandel Medical Center, lnc., d/b/a Anne
Arundel Medical Center ("AAMC"), and for reasons states as follow:

COUNT I

1. The amount ofthis c1aim exceeds $30,000.00.

2. The venue for this c1aim is proper in the United States Distriet Cou_rt for the District
of l\/laryland.

3. At all relevant times, the Defendant, Joseph A. Halpern, M.D., held himself out to
the Plaintiffs and to the general public as an experienced, competent, and able emergency room
physician, possessing or providing that degree of skilf and lmoW1edge Which is oi'dinari1y
possessed by those Who devote specia1 study and attention to the practice of emergency medicine,

and, as such, owed a duty to the P1aintiffs to render that degree of care and treatment Which is

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 3 of 12

ordinarily rendered by those who devote special study and attention to the practice of emergency
medicine

4. At all relevant times, the Defendant, Donald Klein, P.A., held himself out to the
Plaintiffs and to the general public as an experienced, competent, and able physicians1 assistant,
possessing or providing that degree of skill and knowledge which is ordinarily possessed by those
who devote special study and attention to the practice of emergency medicine, and, as such, owed
a duty to the Plaintiffs to render that degree of care and treatment which is ordinarily rendered by
those who devote special study and attention to the practice of emergency medicine.

5. At all relevant times, the Defendant, Eric Ritter, l\/I.D. held himself out to the
Plaintift`s and to the general public as an experienced, competent, and able internal medicine
physician, possessing or providing that degree of skill and knowledge which is ordinarily
possessed by those who devote special study and attention to the practice of internal medicine,
and, as such, owed a duty to the Plaintiffs to render that degree of care and treatment which is
ordinarily rendered by those who devote special study and addition to the practice of emergency
medicine.

6. At all relevant times, the Defendant, Anne Arundel Medical Center, lnc. dfb/ a the
Anne Arundel Medical Center, ("AAMC"), was and is a medical facility offering administrative,
medical, surgical, emergency, nursing, consultative, allergy, and other related services to the
general public and in such capacity, such institution, its agents, servants and/or employees,
administrators, medical staff, surgeons, emergency room physicians, and consultants held
themselves out as practicing ordinary standards of administrative, medical, surgical, emergency,
allergy, and consultative care and, as such, owed a duty to the Plaintiff to render and provide health

care within the ordinary standards of administrative, medical, surgical, emergency, allergy, and

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 4 of 12

consultative care, and to exercise reasonable skill and care in the selection of its personnel to
provide competent administrators, physicians, surgeons, emergency medicine physicians, and
consultants, and other administrative and medical personnel, possessing that degree of skill and
knowledge Which is ordinarily possessed by those Who devote special study and attention to the
practice ot` medicine, surgery, emergency surgery, allergy, and consultative care, and to supervise
and provide its patients With diagnostic, medical, administrative and consultative services and
treatment commensurate with the condition from Which the patient suffers and for Which patient
entered said institution

7. At all times hereinafter set foith, the Defendant, .loseph Halpern, M.D. was an
agent, apparent agent, servant, or employee of the Defendants, AAMC, and Doctor's Emergency
Services, P.A.

_. 8. At all times hereinafter set forth, the Defendant, Donald Klein, P.A. was an agent,
apparent agent, servant, or employee of the Det`endants, AAMC, and Doctor's Emergency
Services, P.A.

9. At all times hereinafter set forth, the Defendant, Eric Ritter, M.D. Was an agent,
apparent agent, servant, or employee of the Defendant, AAMC.

10. On December 21, 2014 at 8:16 pm, twenty»eight (28) year old Alenda Stephens
presented to the BWMC emergency room with complaints of itchiness in her throat and a feeling
that her throat was closing.

ll. ED encounter information and a "chief complain " / "multiple medical complaints"
Was noted to be fever, cough, eye pain, and facial swelling apparently related to receiving a Zpack
the day before. Ms. Stephens was noted to be anxious and still vomiting after receiving Zofran.

Ms. Stephens did not appear to have an allergic reaction at the tirne. She was diagnosed and

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 5 of 12

discharged at 230 am on December 22, 2014 with a diagnosis of febrile illness, sinusitis, and
vomiting.

12. Ms. Stephens next Went to AAMC on December 22, 2014. She was examined by
Dr. Halpern at 3:30 pin and PA Klein just prior to that time. Ms. Stephens was noted to have facial
swelling, a diffuse erythematous rash on her extremities, back, chest, and face, hives, and difficulty
swallowing Her rash was sloughing on parts of her body. She could not eat or drink and appeared
distressed. Dr. Halpern noted that he "assurned care of pt from Don Klein and evaluatedl " He was
arranging admission and "discussed with Dr. Ritter. " P.A. Klein and Dr. Halpern were aware that
Ms. Stephens had received antibiotic therapy from an outside clinic as well at Baltimore
Washington Medical Center. Dr. Halpern's impression at the time was "drug reaction "

13. Contrary to the standard of care, P.A. Klein and Dr. Halpern did not place Stevens-
lohnsons Syndrome on the top of their differential diagnosisl Accordingly, and contrary to the .\
standards of care, Dr. l-Ialpem did not begin appropriate supportive therapy, place Ms. Stephens
on lV steroids, aggressively administer topical steroids to her eyes, aggressively administer
hydration to her eyes via eye drops, call an ophthalmologist for a consult, call an intensivist for a
consult, or arrange immediate transfer to a burn center.

14. P.A. Klein assessed Plaintiff at approximately 3:43 pm.

15. Plaintiff was noted to have a macular popular rash all over her face, chest and back
as well as uticaria.

16. Dr. Eric Ritter was contacted by Dr. Halpern at some point between 5:25 pin and
9:38 pm. Dr. Ritter noted the same findings as Dr. Halpern and P.A. Klein. Further, at this time,
eyelid crusting and eye pain were noted. Dr. Ritter admitted Ms. Stephens at 9:38 pm. The plan

was to give her solumedrol every six hours. Contrary to the standard of care, Dr. Ritter did not

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 6 of 12

place Stevens-.lohnsons Syndrome on the top of his differential diagnosis Further, contrary to the
standard of care, Dr. Ritter did not begin appropriate supportive therapy, place Ms. Stephens on
IV steroids, aggressively administer topical steroids to her eyes, aggressively administer hydration
to her eyes via eye drops, call an ophthalmologist for a consult, or arrange immediate transfer to a
burn center.

17. At 12:00 pm on the following day, l\/ls. Stephens‘ condition remained critical with
no improvement Because of his concern for Stevens-Johnsons Syndrome, Dr. Ritter transferred
Ms. Stephens to lohns Hopl<ins Bayview Burn Unit. This transfer should have been accomplished
immediately upon Plaintiffs presentation to AAMC, it certainly shouldn't have taken almost
twenty-four hours. As a result of the negligence of the named Defendants and their agents and/or
employees, l\/ls. Stephens experienced tremendous pain, hospitalization loss of skin, scarring, has
heart problems as well as respiratory problems, her skin is now discolored, and she is totally blind
in both eyes. She can no longer work, care for her family or have a marital relationship with her
husband

18. Given Alenda Stephen's presentation to AAMC, her obvious and severe skin/
infectious / allergic reaction should have been diagnosed, treated, and her injuries could have been
avoided Any and all individuals caring for her at the time of the AAMC admission deviated from
accepted standards of care.

19. All of the injuries and damages suffered by Mrs. Stephens as described above (and
all of the consequences of these conditions) were the result of the negligence of the Defendants,
AAMC, loseph Halpern, M.D., Donald l<llein, Doctor's Emergency Services, P.A. and Eric Ritter,

M.D.

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 7 of 12

20. 'l`he Healthcare Provider Joseph Halpern, M.D. was negligent and careless in the

following respects:
a.

b.

h.

failed to perform an appropriate assessment on December 22, 2014;

failed to suspect Stevens-lohnsons Syndrome and treat with appropriate
acuity Plaintiffs infection, severe skin reaction and dermatologic
emergency on December 22, 2014;

failed to place Mrs. Stephens on appropriate antibiotics, IV steroids,
topical eye steroids, eye hydration therapy (via eye drops) skin therapy,
and medication therapy on December 22, 2014;

failed to timely order an immediate ophthalmology and intensivist consult
on December 22, 2014;

failed to immediately transfer Plaintiff to a burn center on December 22,
2 0 14;

failed to order any lab work on December 22, 2014 including but not
limited to a CBC and any markers for inflammation;

failed to prevent all of Mrs. Stephens' injuries as described in paragraph 17
above; and

was otherwise negligent and careless.

21. rl`he Healthcare Provider Don Klein, P.A. was negligent and careless in the

following respects:

El.

b.

failed to perform an appropriate assessment on December 22, 2014;

failed to suspect Stevens-lohnsons Syndrome and treat with appropriate
acuity Plaintiffs infection, severe skin reaction and dermatologic
emergency on December 22, 2014;

failed to place Mrs. Stephens on appropriate antibiotics, IV steroids, and
topical eye steroids, eye hydration therapy (via eye drops), skin therapy, and
medication therapy on December 22, 2014;

failed to timely order an immediate ophthalmology and intensivist consult
on December 22, 2014;

failed to immediately transfer Plaintiff to a burn center on December 22,
2 0 14;

 

22.

following respects:

23.

respects:

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 8 of 12

h.

El.

b.

failed to order any lab work on December 22-23, 2014 including but not
limited to a CBC and any markers for inflammation;

failed to prevent all of l\/lrs. Stephens’ injuries as described in paragraph 17
above; and

was otherwise negligent and careless

The l-lealthcare Provider Eric Ritter, M.D. was negligent and careless in the

failed to perform an appropriate assessment on December 22~23, 2014;

failed to suspect Stevens-Johnsons Syndrome and treat with appropriate
acuity Plaintiff‘s infection, severe skin reaction and dermatologic
emergency on December 22-23, 2014;

failed to place l\/lrs. Stephens on appropriate antibiotics, lV steroids,
topical eye steroids, eye hydration therapy (via eye drops), skin therapy
and medication therapy on December 22-23, 2014;

failed to timely order an immediate ophthalmology and critical care
consult or transfer Plaintiff to a higher level of care on December 22~23,
2014; and

failed to prevent all of Mrs. Stephens' injuries as described in paragraph 17
above; and was otherwise negligent and careless

The Healthcare Provider AAMC was negligent and careless in the following

failed to perform an appropriate assessment on December 22-23, 2014;

failed to suspect Stevens~Johnsons Syndrome and treat with appropriate
acuity Plaintiffs infection, severe skin reaction and dermatologic
emergency on December 22-23, 2014;

failed to place Ms. Stephens on appropriate antibiotics, lV steroids, topical
eye steroids, eye hydration therapy (via eye drops), skin therapy, and
medication therapy on December 22-23, 2014;

failed to timely order an immediate ophthalmology and critical care
consult or transfer Plaintiff to a higher level of care on December 22-23,
201 4 ;

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 9 of 12

e. n failed to order any lab work on December 22-23, 2014 including but not
limited to a CBC and any markers for inflammation;

f. failed to properly assess the qualifications of, monitor, train and supervise
its agents and employees; and

g. failed to prevent all of l\/ls. Stephens' injuries as described in paragraph l7
above; and was otherwise negligent and careless

24. As a direct result of the negligence of AAMC, Joseph Halpein, l\/l.D., Donald Klein,
P.A., Eric Ritter, l\/l.D., and Doctors Emergency Services, P.A. the Plaintiff, Alenda Stephens, was
caused to suffer painful and permanent injuries to her body; were caused to sustain severe mental
anguish and emotional pain and suffering; Alenda is unable to contribute to the maintenance of
her home and care of her children; Alenda was caused to incur hospital and medical expenses;
future medical expenses ; future life care expenses ; past and future lost wages; loss of their marital
relationship; and Plaintiffs were caused to incur other financial losses and damage

WHEREFORE, the Plaintiff, Alenda Stephens, claims damages in an amount exceeding

thirty thousand dollars ($30,000), with all costs to be paid by the Defendants.

COUNT II
(LOSS OF CONSORTIUM~ J()EL CURTIS S'I`EPHENS)
25 . The Plaintiff, Joel Stephens, incorporates by reference Paragraphs hereinabove as
if fully set forth herein.

26. The Plaintiff, Joel Stephens, is the husband of Alenda Stephens.

27. As a direct and proximate result of the negligence of the above~named Defendants,
the Plaintiff, Joel Stephens, has suffered and will continue to suffer mental anguish, emotional pain
and suffering, grief, loss of society, companionship, comfort, protection, guidance, attention, care,
advice, counsel, as well as pecuniary damages and loss of services, household services, benefits,

and/ or income

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 10 of 12

WHEREFORE, the Plaintiff, Joel Stephens, claims damages in an amount exceeding
thirty thousand dollars ($30,000), with all costs to be paid by the above-named Defendants.
n Respectfully Submitted,
The ARFAA Law Group

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dillia R Arfaa _/:i
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Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 11 of 12

IN THE UNITED STATES DISTRICT C()URT FOR THlil DISTRICT OF MARYLAND

ALENDA STEPHENS, lndividually *

7190 Chapman -Drive

Camp Lej eune, N.C. 28547 *

and *

JOEL CURTIS STEPHENS *

7190 Chapman Drive

Camp Lejeune, N.C. 2854'7 *
Plaintijjfs *

v. * CASE NO.:

JOSEPH A. HALPERN, M.D. *

2001 l\/ledical Parkway

Annapolis, th 21401 *

and *

DONALD KLEIN, P.A. *

2001 l\/ledical Parkway

Annapolis, l\/lD 21401 f

and *

DOCTOR‘S EMERGENCY SERVICES, P.A. *
2001 Medical Parkway
Annapolis, MD 21401 *

Serve On: Resldent Agent "‘
lames S. lacobs, Esquire
One South St., Ste. 2100 *
Baltimore, l\/lD 21202

and *
ERiC Rn"rER, i\/I.D. ‘ t
2001 l\/ledical Parkway

Annapolis, l\/lD 21401 *

and

 

Case 1:18-cV-OO711-GLR Document 1 Filed 03/09/18 Page 12 of 12

ANNE ARUNDEL MEDICAL CENTER, INC. *
d/b/a ANNE ARUNDEL MEDICAL CENTER

2001 Medical Parkway *
Annapolis, l`\/ID 21401

Serve On: Resident Agent
The Corporation Trust inc *
351 West Carnden Street

Baltimore, l\/lD 21201 \ *
De]%ndants *
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ELECTION FOR JURY TRIAL

 

The Plaintiffs, by and through their undersigned attorneys, respectfully requests a jury

trial in this matter.

ARFAA LAW GROUP

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julia R. Arfaa ,//'
lonathan A. Cusson f

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